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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA



 HAVANA DOCKS CORPORATION,
                                                              Case No.:
               Plaintiff,

 vs.

 MSC CRUISES SA CO,

       and

 MSC CRUISES (USA) INC.,

             Defendants.
 ____________________________________/

                                                   COMPLAINT

       Plaintiff Havana Docks Corporation (“Plaintiff”) hereby sues MSC Cruises SA

 CO (“MSC Cruises SA”) and MSC Cruises (USA) Inc. (“MSC Cruises USA”)

 (collectively “Defendants” or “MSC Cruises”), pursuant to the Cuban Liberty and

 Democratic Solidarity Act (“LIBERTAD Act”), for trafficking in Plaintiff’s confiscated

 property located in Cuba.

                                                   INTRODUCTION

       The LIBERTAD Act was enacted to assist the Cuban people in regaining their

 freedom and prosperity, strengthen international sanctions against the communist

 Cuban Government, and to deter the exploitation of wrongfully confiscated property

 in Cuba belonging to United States nationals. Although every U.S. President has

 suspended the right to bring an action under the LIBERTAD Act since its enactment


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 in 1996, the Defendants have been on notice since 1996 that trafficking in property

 confiscated by the communist Cuban Government would subject it to liability under

 the LIBERTAD Act. As of the date of filing this Complaint, the United States

 Government has ceased suspending the right to bring an action under the LIBERTAD

 Act, which therefore permits Plaintiff to seek damages for the Defendants’ conduct in

 exploiting Plaintiff’s wrongly confiscated property.

                                                           PARTIES

       2.         Plaintiff, Havana Docks Corporation, 215 Southland Drive, Lexington,

 Kentucky, 40503, is a Delaware corporation and a U.S. National under 22 U.S.C. §

 6023(15)(B).

       3.         MSC Cruises SA is a Florida corporation doing business and

 maintaining its principal place of business at 6750 N. Andrews Ave., Suite 100, Ft.

 Lauderdale, Florida 33309. MSC Cruises SA operates through its subsidiaries and

 joint ventures, including the subsidiaries owning or leasing the ships of its fleet that

 have provided cruises to Cuba from Miami.

       4.         MSC Cruises USA is a Delaware Corporation doing business and

 maintaining its principal place of business at 6750 N. Andrews Ave., Suite 100, Ft.

 Lauderdale, Florida 33309.

                                             JURISDICTION AND VENUE

       5.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

 (federal question jurisdiction), because Plaintiff’s claim arises under 22 U.S.C. § 6021,



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 et seq., and the amount in controversy exceeds the sum or value of $50,000, exclusive

 of interest, costs, and attorneys’ fees.

        6.         Venue is proper in this judicial District under 28 U.S.C. § 1391(b)(1),

 because the Defendants reside in this judicial District, and under 28 U.S.C. §§

 1391(b)(2) and 1391(d), because a substantial part of the events or omissions giving

 rise to Plaintiff’s claims occurred in this judicial District.

                    THE CUBAN LIBERTY AND DEMOCRATIC SOLIDARITY ACT

        7.         The LIBERTAD Act became effective March 12, 1996.                                                  One of the

 LIBERTAD Act’s purposes is to “protect United States nationals against confiscatory

 takings and the wrongful trafficking in property confiscated by the Castro Regime.”

 22 U.S.C. § 6022(6). Title III of the LIBERTAD Act (“Title III”) establishes a private

 right of action for money damages against any person who “traffics” in such property

 as defined by 22 U.S.C. § 6023(13). See 22 U.S.C. § 6082.

                                                FACTUAL ALLEGATIONS

        8.         Plaintiff, a U.S. national as defined by 22 U.S.C. § 6023(15), is the

 rightful owner of an interest in and claim to certain commercial waterfront real

 property in the Port of Havana, Cuba identified specifically by the Republic of Cuba

 (“Cuba”) as the Havana Cruise Port Terminal (the “Subject Property”).

        9.         The Subject Property was continuously, owned, possessed and used in

 Cuba by Plaintiff from 1917 until the communist Cuban Government confiscated it

 in 1960.



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                            Cuba’s Confiscation of the Subject Property

       10.     The communist Cuban Government confiscated the Subject Property on

 October 24, 1960. The communist Cuban Government maintains possession of the

 Subject Property and has not paid any compensation to Plaintiff for its seizure.

       11.     More specifically, the communist Cuban Government nationalized,

 expropriated, and seized ownership and control of the Subject Property. The Subject

 Property has not been returned and adequate and effective compensation has not

 been provided. Further, the claim to the Subject Property has not been settled

 pursuant to an international claims settlement agreement or other settlement

 procedure.

       12.     Plaintiff never abandoned its legitimate interest in and claim to the

 Subject Property.

                        Certification of the Confiscated Subject Property

       13.     Plaintiff’s ownership interest in and claim to the Subject Property has

 been certified by the Foreign Claims Settlement Commission under the International

 Claim Settlement Act of 1949.

              MSC Cruises’ Trafficking in the Confiscated Subject Property

       14.     On information and belief, beginning on or about December 10, 2018,

 the Defendants knowingly and intentionally commenced, conducted, and promoted

 their commercial cruise line business to Cuba using the Subject Property by regularly

 embarking and disembarking their passengers on the Subject Property without the



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 authorization of Plaintiff or any U.S. national who holds a claim to the Subject

 Property.

       15.     On information and belief, beginning on or about December 10, 2018,

 the Defendants also knowingly and intentionally participated in and profited from

 the communist Cuban Government’s possession of the Subject Property without the

 authorization of Plaintiff or any U.S. national who holds a claim to the Subject

 Property.

       16.     The Defendants’ knowing and intentional conduct with regard to the

 confiscated Subject Property is trafficking as defined in 22 U.S.C. § 6023(13)(A).

       17.     As a result of the Defendants’ trafficking in the Subject Property, the

 Defendants are liable to Plaintiff for all money damages allowable under 22 U.S.C.

 § 6082(a), which amount is no less than three (3) times $167,744,818 for a total of

 $503,234,453.

                                              CLAIM FOR DAMAGES

                                   TITLE III OF THE LIBERTAD ACT

       18.     Plaintiff incorporates by reference paragraphs 1 through 17 as if fully

 stated herein.

       19.     This claim is brought pursuant to Title III of the LIBERTAD Act, 22

 U.S.C. § 6082.

       20.     As set forth in Title III and alleged above, beginning on or around

 December 10, 2018, the Defendants did traffic, as that term is defined in 22 U.S.C. §

 6023(13)(A), in the Subject Property which was confiscated by the communist Cuban

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 Government on or after January 1, 1959 and are therefore liable to Plaintiff, who

 owns the claim to the Subject Property for money damages.

       21.      Plaintiff is entitled to all money damages allowable under 22 U.S.C.

 § 6082(a), including, but not limited to, those equal to the sum of:

                a.      The amount greater of: (i) the amount certified by the Foreign

 Claims Settlement Commission, plus interest; (ii) the amount determined by a special

 master pursuant to 22 U.S.C. § 6083(a)(2); or (iii) the “fair market value” of the

 Subject Property, plus interest;

                b.      Three times the amount determined above (treble damages); and

                c.      Court costs and reasonable attorneys’ fees.

       22.      As of the date of filing this Complaint, the United States Government

 has ceased suspending the right to bring an action under Title III, 22 U.S.C. § 6085,

 which therefore permits Plaintiff to seek the relief requested herein.

                                              REQUEST FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against the Defendants as follows:

                A. Ordering the Defendants to pay damages (including treble damages);

                B. Ordering the Defendants to pay pre- and post-judgment interest on

                      any amounts awarded;

                C. Order the Defendants to pay attorneys’ fees, costs, and expenses; and

                D. Ordering such other relief as may be just and proper.




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                                           DEMAND FOR JURY TRIAL

       Plaintiff demands a jury trial on all issues so triable, and a trial pursuant to

 Rule 39(c), Federal Rules of Civil Procedure, as to all matters not triable as of right

 by a jury.

       Dated: August 27, 2019.

                                                           Respectfully submitted,

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